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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11   BIG3 LLC, et al.,                      Case No.: CV 18-3466-DMG (SKx)
  12                  Plaintiffs,             ORDER RE JOINT
  13                                          STIPULATION TO SEAL
             v.                               DOCUMENTS[49]
  14   AHMED AL-RUMAIHI, et al.,
  15                  Defendants.
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   1         On August 14, 2018, the Court issued an Order permitting Defendants Ahmed
   2   Al-Rumaihi and Ayman Sabi to file an application to seal Plaintiffs’ Response to an
   3   Order to Show Cause (“Plaintiff’s OSC Response”) by no later than August 17, 2018.
   4   [Doc. # 47.] On August 17, 2018, the parties filed a joint stipulation to set a briefing
   5   schedule on a forthcoming regularly noticed motion to permanently seal unspecified
   6   portions of Plaintiffs’ OSC Response. [Doc. # 49.] The parties also agreed that the
   7   entirety of Plaintiffs’ OSC Response shall remain temporarily sealed until the Court
   8   resolves the forthcoming motion, which Defendants intend to set for a hearing on
   9   October 5, 2018. See id. 3–5. The Court REJECTS the parties’ stipulation because
  10   they have failed to show good cause for litigating a routine sealing dispute through a
  11   regularly noticed motion rather than through the Court’s established procedure as set
  12   forth in Local Rule 79.5.2.2, nor have they shown good cause for “temporarily”
  13   sealing the entirety of Plaintiffs’ OSC Response for an extended period of time.
  14   Nonetheless, in the interests of justice, the Court sua sponte CONTINUES
  15   Defendants’ deadline to file an ex parte sealing application to August 23, 2018.
  16   Docket Entry Nos. 43, 43-1, 43-2, 43-3, 43-4, 43-5, 43-6, 43-7, 43-8, 43-9, 43-10,
  17   43-11, 43-12, 43-13, and 43-14 shall remain temporarily sealed pending the
  18   resolution of any such application. Plaintiffs may file an opposition thereto by no
  19   later than August 27, 2018.
  20   IT IS SO ORDERED.
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       DATED: August 17, 2018
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  23                                                  DOLLY M. GEE
  24                                                  UNITED STATES DISTRICT JUDGE
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